            Case 8:17-cr-00125-PX Document 70 Filed 01/25/18 Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                        *


       v.                                        *                  Crim. Action No. PX 17-125

MICHAEL LYNN VAUGHN,                             *

       Defendant.                      *
                                    ******
                         MEMORANDUM OPINION AND ORDER

       Pending before the Court is Defendant Michael Lynn Vaughn’s Motion to sever counts

six through eight from counts one through five of the Indictment charging him with bribery,

conspiracy to commit bribery and wire fraud. (ECF No. 29). For the following reasons, the

motion is GRANTED.

       I.      The Indictment

       Vaughn is charged with two distinct criminal schemes that are united almost exclusively

by the fact that they both involve Vaughn. Counts One through Five of the Indictment charge

Vaughn with conspiracy to commit bribery involving an agent of a program receiving federal

funds in violation of 18 U.S.C. § 371 and four substantive counts of bribery involving an agent

of a program receiving federal funds (hereafter “bribery scheme”) in violation of 18 U.S.C. §

666. These counts involve Vaughn allegedly accepting cash payments from co-conspirators

Young Jung Paig (“Paig”) and Shin Ja Lee (“Lee”) in exchange for his using his power as a

Maryland State Delegate to vote favorably for legislation benefitting the coconspirators’ liquor

establishments. David Dae Sok Son, a commissioner on the Prince George’s County Board of

License Commissioners, acted as a broker between Vaughn, Paig, and Lee. The conspiracy

involved specifically identified and enumerated cash bribes given throughout 2015 and 2016 to
             Case 8:17-cr-00125-PX Document 70 Filed 01/25/18 Page 2 of 5



influence Vaughn’s actions on House Bill 931 (the “Sunday Sales Bill”) and House Bill 311

(“Additional Sunday Permits Bill”).

       Counts Six through Eight, by contrast, charge Vaughn with participating in a wire fraud

scheme in violation of 18 U.S.C. §1343. Vaughn is accused of taking unauthorized cash

disbursements from his campaign’s official “Friends of Michael Vaughn” (FOMV) designated

bank account between 2012 and 2016. (Hereafter the “FOMV scheme”). More particularly,

Counts Six through Eight allege that Vaughn would deposit checks from campaign contributors

into the FOMV account and then would withdraw, via electronic transfer, cash from the FOMV

account to pay personal tax payments and credit card bill. Vaughn also filed fraudulent

campaign finance reports with the Maryland State Board of Elections to conceal his fraud.

       As charged, the bribery and FMOV schemes have little to do with one another. None of

the cooperating coconspirators involved in the bribery scheme (Son, Paig and Lee) made

campaign contributions to FOMV. Nor is it alleged that the funds Vaughn collected from the

bribery scheme were commingled with the FOMV funds. And while the alleged time periods for

the two ongoing schemes somewhat overlap, the FOMV scheme spans two years longer than the

bribery scheme.

       II.      The Hearing

       At the motions hearing held on December 21, 2017, Vaughn emphasized the minimal

overlap between the two charged schemes. As Vaughn noted in his motion, the two schemes are

not based on the same acts or transactions, are not common schemes, and require a jury to pass

on wholly separate sets of facts to determine Vaughn’s guilt or innocence. The Government

countered principally that the two schemes are united by Vaughn’s common motive to extricate

himself from dire financial straits, and that fact, combined with the overlapping time frame and
           Case 8:17-cr-00125-PX Document 70 Filed 01/25/18 Page 3 of 5



common defendant, justifies joinder under Federal Rule of Criminal Procedure 8(a). The

Government also argued that joinder is proper because both schemes will require similar proof

delivered by similar witnesses. The Government stated, for example, that it will call one witness

familiar with how the Maryland House of Delegates operates regarding passage of legislation,

and that this witness who will also testify about pertinent campaign finance laws. Similarly, the

Government intends to call a FBI agent present during an interview with Vaughn to testify about

incriminating statements made as to both charged schemes.

       Upon close scrutiny of the Government’s proffered evidence, assessed against the

backdrop of the Indictment, joinder is not warranted and severance is compelled.

       III.     Rule 8(a) - Joinder

       Rule 8(a) permits joinder of offenses when such acts are “of the same or similar

character, or are based on same act or transaction, or are connected with or constitute parts of the

same scheme or plan.” Fed. R. Crim. P. 8(a). Importantly, although proper joinder is often “the

rule rather than the exception,” it is not “infinitely elastic,” and “cannot be stretched to cover

offenses . . . which are discrete and dissimilar.” United States v. Hawkins, 776 F.3d 200, 206

(4th Cir. 2009). See also United States v. Mackins, 315 F.3d 399, 412–13 (4th Cir. 2003).

       The government argues that the two charged schemes “constitute parts of a common plan

or scheme perpetuated by the defendant over the course of several years, and simply form two

related branches of the overall scheme.” ECF No. 33 at 21. Neither scheme, however, involves

the same statutes, elements of proof, witnesses or documentary evidence. While the bribery

scheme focuses on the co-conspirators who allegedly paid to influence legislation, the FOMV

scheme involves Vaughn’s personal use of monies that rightfully belonged to his campaign.

Indeed, the Government’s proffer of the anticipated evidence at trial underscored the distinctions
           Case 8:17-cr-00125-PX Document 70 Filed 01/25/18 Page 4 of 5



between the two schemes. The Government noted that none of the coconspirators expected to

testify regarding the bribery scheme would offer any proof on the campaign finance scheme.

And although the same witness would be called to discuss both the inner workings of the

Maryland House of Delegates and Maryland campaign finance, the testimony as to each scheme

would have little to no overlap.

       In fact, the Government confirmed that the only commonality between the two

“branches” centers on Vaughn and his financial distress which, standing alone, cannot support

joinder. Mackins, 315 F.3d at 413 (joinder of drug and money laundering conspiracy with

counterfeit check conspiracy improper where only connection between two is the defendant);

Hawkins, 776 F.3d at 209 (reversing denial of severance where the “only connection” between

counts is the defendant). Financial distress, while powerful, cannot unify otherwise unrelated

offenses. If the law allowed otherwise, then such vastly different offenses as robbery and insider

trading could be joined solely because they were both committed by a financially strapped

defendant. Joining the bribery and FOMV schemes in one trial is not proper.

       IV.     Relief from Prejudicial Joinder under Rule 14

       Alternatively, even if the two schemes were properly joined under Rule 8(a), severance is

warranted under Rule 14(a) so as to cure the prejudice arising from joinder. Vaughn principally

argues that trying such factually and legally distinct criminal schemes together will perpetrate

“open season” on Vaughn, with the hope that a jury — not convinced beyond a reasonable doubt

on either allegation standing alone — will nonetheless convict Vaughn for his general propensity

to behave like a corrupt politician. ECF No. 29 at 4. The Government counters that because

evidence of one scheme would be properly admitted as “other acts” evidence under Rule 404(b)

of the Federal Rules of Evidence to show “his financial status and motive for bribery, and vice
                     Case 8:17-cr-00125-PX Document 70 Filed 01/25/18 Page 5 of 5



versa,” Vaughn cannot make a “strong showing” of actual prejudice. ECF No. 33 at 22. Again,

Vaughn has the better argument.

              Although the Court may permit some 404(b) evidence about Vaughn’s financial distress

as motive, several days of evidence as to an unrelated criminal scheme visits far more prejudice

on the defendant than probity for the jury. This is especially so when the Government already

intends to introduce Vaughn’s bank records, tax returns, and recorded conversations that

demonstrate his financial distress. See, e.g., ECF No. 55 (Government proffer that it intends to

introduce evidence of routinely delinquent credit card bills, low-balance bank accounts,

mortgage records, and wiretap messages reflecting a host of delinquent payment messages from

various financial institutions). Allowing additional evidence of financially motivated criminal

activity, is both cumulative – and thereby minimally probative – and highly prejudicial because

of its criminal nature. In this regard, Vaughn has made a strong showing of actual prejudice that

may only be cured by ordering separate trials. See, e.g. United States v. Foutz, 540 F.2d 733,

736 (1976).1

                                                               IV.   CONCLUSION

For the above stated reasons, Defendant’s motion to sever (ECF No. 29) is GRANTED.



January 25, 2018                                                                           /S/
                                                                          Paula Xinis
                                                                          United States District Judge



                                                            
1
  Although Vaughn need not decide at this juncture whether he will testify in his defense at trial, the Court notes that
joinder would present to Vaughn a Hobson’s choice which visits its own prejudice on him. Because the schemes are
so different in nature and manner of proof, Vaughn may wish to testify, asserting his innocence to one scheme, but
would otherwise invoke his Fifth Amendment right to remain silent as to the other scheme. If the schemes are
joined in one trial, Vaughn would be forced to either forfeit his testimony in defense of one scheme, or admit guilt to
the jury on the other. See Foutz, 540 F.2d at 736 (4th Cir. 1976); see also Cross v. United States, 335 F.2d 987, 989
(D.C. Cir. 1964).
